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                                                 UNITED STATES DISTRICT COURT
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                                                         DISTRICT OF NEVADA
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                                                                     2:12-CR-463 JCM (VCF)
                10      UNITED STATES OF AMERICA,

                11                    Plaintiff(s),
                12      v.
                13
                        FREDERICK VERNON WILLIAMS,
                14      et al.,
                15                    Defendant(s).
                16
                17                                                ORDER
                18           Presently before the court is the matter of United States v. Williams, case no. 2:12-cr-463-
                19    JCM-VCF. This order addresses the following:
                20           •      Magistrate Judge Ferenbach’s report and recommendation that defendant Frederick
                21                  Williams’ motion to suppress the search warrant be denied. (Doc. # 120).
                22           •      The magistrate judge’s report and recommendation that Williams’ motion to suppress
                23                  involuntary statements be granted. (Doc. # 121).
                24           •      The magistrate judge’s report and recommendation that defendant Jacqueline
                25                  Gentle’s motion to suppress the search warrant be denied. (Doc. # 128).
                26           •      The magistrate judge’s report and recommendation that Williams’ motion to dismiss
                27                  the indictment be denied. (Doc. # 202).
                28
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U.S. District Judge
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                  1           •          The magistrate judge’s report and recommendation that Williams’ motion to suppress
                  2                      the search warrant be denied. (Doc. # 203).
                  3           •          Williams’ motion for reconsideration of the magistrate judge’s order denying his
                  4                      motion to reopen bail. (Doc. # 220).
                  5           •          Williams’ motion for adoption of defense objections. (Doc. # 231).
                  6   I.      Background
                  7           Williams is awaiting trial on charges of false citizenship, 18 U.S.C. § 911, false
                  8   statement in application for passport, 18 U.S.C. § 1542, aggravated identity theft, 18 U.S.C. §
                  9   1028A(a)(1), conspiracy, 18 U.S.C. § 1349, and mail fraud, 18 U.S.C. § 1341.
                10            On December 11, 2012, Agent Roland of the United States Diplomatic Security Service
                11    applied for a search warrant for the premises located at 2637 Soledad Way, N. Las Vegas, Nevada
                12    89030 (hereinafter “Soledad Way”), and two automobiles. The application/affidavit for search
                13    warrant stated that a cooperating witness (“CW”) provided information to Agent Roland relating to
                14    defendant Williams and his co-defendants, and that “[t]he substantive information the CW provided
                15    to me has been independently corroborated by various investigative methods and the CW has proved
                16    to be reliable.”
                17            The search warrant application/affidavit identifies defendant Williams as “Subject 1," and
                18    states that defendant Williams is alleged to have fraudulently obtained a U.S. passport using a
                19    computer and finding a man who is a U.S. citizen with the same name as his father. The
                20    application/affidavit also states that Williams is potentially involved in an unemployment
                21    compensation fraud scheme, and provides the background of the investigation into such allegations.
                22    The application/affidavit also discusses co-defendants and their involvement in the scheme. (See
                23    application/affidavit for search warrant, doc. # 92-1).
                24            The instant motions contest the validity of the warrant on numerous grounds, seek to dismiss
                25    the indictment on numerous grounds, seek to suppress statements made upon interrogation, and
                26    request to be released pending trial.
                27
                28
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U.S. District Judge                                                     -2-
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                  1   II.     Legal Standard
                  2           A.      Reports and recommendations
                  3           This court “may accept, reject, or modify, in whole or in part, the findings or
                  4   recommendations made by the magistrate.” 28 U.S.C. § 636(b)(1). Where a party timely objects
                  5   to a magistrate judge’s report and recommendation, then the court is required to “make a de novo
                  6   determination of those portions of the [report and recommendation] to which objection is made.”
                  7   28 U.S.C. § 636(b)(1). The court is not required to conduct “any review at all . . . of any issue that
                  8   is not the subject of an objection.” Thomas v. Arn, 474 U.S. 140, 149 (1985).
                  9           B.      Reconsideration and LR 3-1 objections
                10            A district judge “may reconsider any pretrial matter [adjudicated by the magistrate judge] .
                11    . . where it has been shown that the magistrate judge’s order is clearly erroneous or contrary to law.”
                12    28 U.S.C. § 636(b)(1)(A); LR IB 3-1(a). The district judge may “affirm, reverse or modify, in whole
                13    or in part, the ruling made by the magistrate judge.” LR IB 3-1(b). Under the “clearly erroneous”
                14    standard, the magistrate judge's ruling must be accepted unless, after a review of the record, the court
                15    is “left with the definite and firm conviction that a mistake has been committed.” United States v.
                16    Silverman, 861 F.2d 571, 576-77 (9th Cir.1998).
                17    III.    Discussion
                18            Because defendant Frederick Williams is proceeding in pro se, his filings are numerous and
                19    difficult to follow. The court has done its best to identify the salient points and will address each
                20    motion and argument in the manner most convenient for it.
                21            A.      Report and recommendation on defendant Williams’ motion to suppress the search
                22                    warrant
                23            The magistrate judge issued two reports recommending that Williams’ motions to suppress
                24    the search warrant be denied. (Docs. # 120, 203). Williams has objected to the reports and
                25    recommendations (docs. # 170, 214) and the government has responded (docs. # 179, 232).
                26            The motions object to the sufficiency of the warrant issued for Soledad Way. Williams first
                27    argues that probable cause did not exist to justify the issuance of the warrant (doc. # 92) and later
                28
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U.S. District Judge                                                    -3-
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                  1   that the warrant was overbroad and was executed in violation of Fed. R. Crim. P. 41 (doc. # 175).
                  2   Each argument is addressed in turn.
                  3                    I.       Probable cause
                  4             Williams contests whether there was probable cause to believe that evidence of a crime
                  5   would be found at the Soledad Way residence. In particular, Williams argues that Agent Roland set
                  6   forth facts indicating that he had knowledge that Williams had been involved in prior crimes;
                  7   however that his affidavit is insufficient to establish that specific objects connected to those
                  8   particular crimes would be located at Soledad Way.                 Williams’ primary contention is that
                  9   investigation was conducted at the Congress Avenue residence1, but not enough was done with
                10    regards to Soledad Way.
                11              When issuing a search warrant, the magistrate judge is only required "to answer the
                12    commonsense, practical question whether there is probable cause to believe that contraband or
                13    evidence is located in a particular place." United States v. Gourde, 440 F.3d 1065, 1069 (9th Cir.
                14    2006)(quotations omitted). This court must pay “great deference” to the probable cause
                15    determination made by the magistrate judge issuing the search warrant. Illinois v. Gates, 462 U.S.
                16    213, 236 (1983). Magistrate judges are entitled to draw "reasonable inferences about where evidence
                17    is likely to be kept," and it is not required that the affidavit contain direct evidence that items are at
                18    a particular location to establish probable cause regarding that location. United States v. Angulo-
                19    Lopez, 791 F.2d 1394 (9th Cir. 1986) (citing United States v. Jackson, 756 F.2d 703, 705 (9th Cir.
                20    1985)).
                21              In analyzing the sufficiency of the application/affidavit and whether it justified probable
                22    cause, the magistrate judge found as follows:
                23              (1) the agents were working with a CW who was close to the
                                defendant [by marriage], (2) the information provided by the CW
                24              regarding the allegations and defendant’s prior residence was reliable,
                                (3) the CW had informed the agents that defendant Williams had
                25
                26              1
                                  According to the CW, Williams had resided at 3123 Congress Ave., Las Vegas, NV 89121, when the
                27    investigation begin. On September 18, 2012, agents began conducting surveillance of that location. On December 6,
                      2012, the CW informed Agent Roland that Williams had moved to the Soledad Way residence, which the agents
                      thereafter surveilled. (Doc. # 92-1, p. 13-14).
                28
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U.S. District Judge                                                -4-
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                  1           moved to 2637 Soledad Way, (4) surveillance was conducted of the
                              residence, and (5) cars registered to defendant were seen outside the
                  2           residence for a twenty-four (24) hour period and at 3:00 a.m.
                  3
                      (Report and recommendation, doc. # 120, p. 7-8).
                  4
                              This court has independently reviewed the application/affidavit. (Doc. # 92-1). The court
                  5
                      agrees with the magistrate judge’s conclusion that these averments contained within the
                  6
                      application/affidavit were sufficient to establish probable cause that evidence of the alleged crimes
                  7
                      would be found at Soledad Way.
                  8
                                      ii.     Overbreadth
                  9
                              A warrant is sufficiently particularized if it establishes: (1) whether probable cause exists to
                10
                      seize all items of a particular type described in the warrant; (2) whether the warrant sets out objective
                11
                      standards by which the executing officers can differentiate items subject to seizure from those which
                12
                      are not; or (3) whether the government was able to describe the items more particularly in light of
                13
                      the information available to it at the time the warrant was issued. United States v. Spilotro, 800 F.2d
                14
                      959, 963 (9th Cir. 1986). The warrant’s description of items need only be “reasonably specific,
                15
                      rather than elaborately detailed.” Id. (citations omitted).
                16
                              Williams argues the warrant is overbroad because the list of items to be seized provides, inter
                17
                      alia, (1) passport and travel documents; (2) records and information relating to Luna Consulting; and
                18
                      (3) records and information relating to Samuel Lopez, Kenneth Burchett, Bruce Forrester, Kyston
                19
                      Patterson, Joel Collins, Maties Saravia, Keith Martin, Patrice Carter, Carolyn Willis, and Marcus
                20
                      Liu.
                21
                              Williams is charged with aggravated identity theft, false citizenship claims, and fraud. As
                22
                      stated in the search warrant affidavit, Williams allegedly used his company, Luna Consulting, to
                23
                      execute his scheme, which also allegedly involved the individuals listed. (See affidavit, doc. # 92-1).
                24
                              In addition, the warrant identified Williams’ home and car as places to be searched based on
                25
                      information obtained from the C.W., along with Agent Rowland’s experience, that Williams
                26
                      possessed, manufactured, and sold fraudulent identification documents from his home and/or
                27
                      vehicles. (See affidavit, doc. # 92-1, at 12-14).
                28
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U.S. District Judge                                                     -5-
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                  1          This court agrees with the magistrate judge’s conclusion that the warrant was sufficiently
                  2   particularized. (See doc. # 203).
                  3                  iii.    Fed. R. Crim. P. 41
                  4          Williams alleges that the agents executing the warrant did not provide him with a copy nor
                  5   did they tell him what he was being arrested for. Based on those allegations, Williams contends that
                  6   the warrant violated Fed. R. Crim. P. 41(d) and evidence seized during the search should be
                  7   suppressed.
                  8          “[S]uppression is rarely the proper remedy for a Rule 41 violation.” United States v.
                  9   Williamson, 439 F.3d 1125, 1132 (9th Cir. 2006). “Only a fundamental violation of Rule 41 requires
                10    automatic suppression, and a violation is fundamental only where it, in effect, renders the search
                11    unconstitutional under traditional fourth amendment standards.” United States v. Johnson, 660 F.2d
                12    749, 753 (9th Cir. 1981).
                13           “There are three circumstances under which evidence obtained in violation of [Rule 41]
                14    requires suppression: 1) the violation rises to a ‘constitutional magnitude;’ 2) the defendant was
                15    prejudiced, in the sense that the search would not have occurred or would not have been so abrasive
                16    if law enforcement had followed the Rule; or 3) officers acted in ‘intentional and deliberate
                17    disregard’ of a provision in the Rule.” Williamson, 439 F.3d at 1133 (citing United States v.
                18    Martinez-Garcia, 397 F.3d 1205, 1213 (9th Cir.); cert. denied, 546 U.S. 901 (2005)).
                19           Here, Williams has not alleged that the violation rises to a constitutional magnitude.
                20    Likewise, he has not alleged that he was prejudiced and the court finds no evidence of such upon its
                21    own review. Finally, there has been no evidence presented that the officers acted in intentional and
                22    deliberate disregard of the rule. (See motion to suppress, doc. # 175, p. 14-16). Accordingly, the
                23    court concludes that any violation of Rule 41 was a “mere technical error” which does not warrant
                24    suppression. Williamson, 439 F.3d at 1133.
                25           Upon review of the arguments and the report and recommendation, the court finds the
                26    magistrate judge properly denied Williams’ motions to suppress (docs. # 92, 175). The report and
                27    recommendations (docs. # 120, 203) are adopted in their entireties.
                28
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U.S. District Judge                                                  -6-
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                  1           B.      Report and recommendation on defendant Williams’ motion to suppress involuntary
                  2                   statements
                  3           Williams filed a motion to suppress involuntary statements (doc. # 91) to which the
                  4   government opposed (doc. # 118). After considering the briefing and holding a hearing on the
                  5   matter, the magistrate judge issued a report which recommended that Williams’ motion be granted.
                  6   (Doc. # 121). The government did not file objections in response.
                  7           Where a party fails to object to a report and recommendation, the court is not required to
                  8   conduct “any review at all . . . of any issue that is not the subject of an objection.” Thomas v. Arn,
                  9   474 U.S. 140, 149 (1985). Indeed, the Ninth Circuit has recognized that a district court is not
                10    required to review a magistrate judge’s report and recommendation where no objections have been
                11    filed. See United States v. Reyna–Tapia, 328 F.3d 1114 (9th Cir. 2003) (disregarding the standard
                12    of review employed by the district court when reviewing a report and recommendation to which no
                13    objections were made); see also Schmidt v. Johnstone, 263 F. Supp. 2d 1219, 1226 (D. Ariz. 2003)
                14    (reading the Ninth Circuit’s decision in Reyna–Tapia as adopting the view that district courts are not
                15    required to review “any issue that is not the subject of an objection.”). Thus, if there is no objection
                16    to a magistrate judge’s recommendation, then this court may accept the recommendation without
                17    review. See, e.g., Johnstone, 263 F. Supp. 2d at 1226 (accepting, without review, a magistrate
                18    judge’s recommendation to which no objection was filed).
                19            Nevertheless, this court finds it appropriate to engage in a de novo review to determine
                20    whether to adopt the recommendation of the magistrate judge. The magistrate judge’s ruling came
                21    down to a credibility determination between the agent(s) who interviewed Williams and Williams
                22    himself. The government has not objected to the magistrate judge’s conclusion, apparently
                23    conceding that the agents’ versions of the interrogation are contradictory and that the conclusion that
                24    Williams’ testimony was more reliable was not in err. Accordingly, this court has no basis upon
                25    which to reject the magistrate judge’s credibility determination.
                26            Upon reviewing the recommendation and underlying briefs, this court finds good cause
                27    appears to ADOPT the magistrate’s findings in full.             The magistrate judge’s report and
                28
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U.S. District Judge                                                    -7-
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                  1   recommendation (doc. # 121) are adopted in their entireties and Williams’ motion to suppress
                  2   involuntary statements (doc. # 91) is granted.
                  3          C.      Report and recommendation on defendant Gentle’s motion to suppress
                  4          Defendant Jacqueline Gentle has filed a motion to sever (doc. # 95) and motion to suppress
                  5   the search warrant (doc. # 94). The magistrate judge issued a report which denied the motion to
                  6   sever without prejudice and recommended that the motion to suppress be denied for lack of standing.
                  7   (Doc. # 128). Gentle has not filed objections in response.
                  8          Although not required to, see Thomas, 474 at 140, the court finds it appropriate to engage
                  9   in a de novo review to determine whether to adopt the recommendation of the magistrate judge.
                10    Upon reviewing the recommendation and underlying briefs, this court finds good cause appears to
                11    ADOPT the magistrate’s findings in full.
                12           The magistrate judge’s report and recommendation (doc. # 128) are adopted in their entireties
                13    and Gentle’s motion to suppress (doc. # 94) is denied.
                14           D.       Report and recommendation on William’s motion to dismiss the indictment
                15           The magistrate judge issued a report recommending that Williams’ motion to dismiss the
                16    indictment be denied. (Doc. # 202). Williams has objected (doc. # 213) and the government has
                17    responded (doc. # 232).
                18           Williams’ multiple motions to dismiss the superseding indictments argue first that count
                19    three of the indictment charging him with aggravated identity theft is barred by the statute of
                20    limitations. Second, Williams argues that counts 8 through 23 should be dismissed for selective
                21    prosecution, vindictive prosecution, and deporting a witness in violation of his due process rights.
                22           With respect to Williams’ argument regarding count three, the magistrate judge ruled as
                23    follows:
                24
                25                  Williams’ argument is unpersuasive for two reasons. First,
                             under Rule 12, the court (1) takes the indictment’s allegations as true,
                26           see Sampson, 371 U.S. at 78–79, and (2) limits its review to the
                             indictment’s four corners. Boren, 278 F.3d at 914. Here, the
                27           indictment alleges that Williams violated 18 U.S.C. § 1028(A) “on or
                             about January 30, 2008, through on or about March 3, 2009.” (See
                28
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U.S. District Judge                                           -8-
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                  1           Second Super. Indict. (#142) at 2:11–12). Under Rule 12, this is
                              sufficient because Williams was indicted on December 11, 2012,
                  2           which is within the five-year state of limitations. (See Indict. #1).
                              Hamling, 418 U.S. at 117.
                  3
                                      Second, Williams’ argument regarding “use” is unpersuasive
                  4           because the court cannot consider evidentiary questions on a Rule 12
                              motion to dismiss. See FED. R. CRIM . P. 12(b); Jensen, 93 F.3d at 669
                  5           (citation omitted) (“A motion to dismiss the indictment cannot be
                              used as a device for a summary trial of the evidence”).
                  6
                  7
                      (Report and recommendation, doc. # 202, p. 3).
                  8
                              The magistrate judge’s ruling was correct because “the court should not consider evidence
                  9
                      not appearing on the face of the indictment.” Jensen, 93 F.3d at 670 (quoting United States v.
                10
                      Marra, 481 F.2d 1196, 1199-1200 (6th Cir. 1973)). As a result, Williams’ dispute with regards to
                11
                      the dates in question that encompass this charge may not be considered by the court at this time.
                12
                              Turning next to Williams’ arguments regarding counts 8 through 23, the magistrate judge
                13
                      correctly concluded that the inclusion of these counts do not violate Williams’ due process rights.
                14
                              First, Williams has not sufficiently demonstrated that the government has sought additional
                15
                      charges solely to punish him for exercising his constitutional or statutory rights. See United States
                16
                      v. Hernandez-Herrera, 283 F.3d 1213, 1217 (9th Cir. 2001). Williams’ bare allegations that the
                17
                      superseding indictments have been brought solely because he exercised his “right to seek pretrial
                18
                      release, voluntary departure to Belize, right to dismiss counsel, right to proceed pro se, right to trial,
                19
                      right to apply for bail, and right to challenge his immigration order of removal” (doc. # 176, p. 5)
                20
                      are not supported by “direct evidence of actual vindictiveness or facts that warrant an appearance of
                21
                      such.” United States v. Montoya, 45 F.3d 1286, 1299 (9th Cir. 1995).
                22
                              Next, Williams’ argument that the government is selectively prosecuting him is not supported
                23
                      by any credible evidence that others similarly situated have not been prosecuted or that the
                24
                      prosecution is based on an impermissible motive. See United States v. Wayte, 710 F.2d 1385 (9th
                25
                      Cir. 1983). His subjective belief that he and/or his family are being impermissibly targeted is simply
                26
                      not evidence. Accordingly, the magistrate judge correctly rejected this argument.
                27
                              Finally, Williams has failed to make a plausible showing that the deportation of a potential
                28
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U.S. District Judge                                                     -9-
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                  1   witness, Joel Collins, “would have been material and favorable to his defense, in ways not merely
                  2   cumulative to the testimony of available witnesses” and that “there was a reasonable likelihood that
                  3   the testimony would have affected the judgement.” United States v. Valenzuela-Bernal, 458 U.S.
                  4   858, 872-73 (1982); United States v. Cervantes-Gaitan, 792 F.2d 770, 773 (9th Cir. 1986).
                  5          Upon review of the underlying motions, the magistrate judge’s report and recommendations,
                  6   and the objections thereto, the court hereby adopts the report and recommendations (doc. # 202) in
                  7   their entireties. Williams’ motion to dismiss the indictment (doc. #176) is denied.
                  8          E.       Williams’ motion for reconsideration of the magistrate judge’s order declining to
                  9                   reopen bail
                10           Williams seeks reconsideration of the magistrate judge’s order denying his motion to reopen
                11    bail. (Doc. # 220). The government has filed a response in opposition. (Doc. # 228).
                12           Following indictment, the magistrate judge ordered the defendant released on personal
                13    recognizance with certain conditions. Williams was thereafter was taken into custody by ICE on a
                14    detainer.
                15           On January 23, 2013, the government filed a petition regarding defendant’s pretrial release
                16    status (doc. # 23) wherein it asserted that the defendant had appeared before an immigration judge
                17    and stated he wished to be voluntarily deported to his country of birth, Belize. Following defendant’s
                18    arrest on the petition, he was detained pending a revocation hearing. (Doc. # 37).
                19           At the revocation hearing, the government further alleged that, in 2004, Williams had
                20    submitted a false application to the Nevada DMV wherein he listed his country of birth as St. Croix,
                21    Virgin Islands. It was also alleged that the defendant told the immigration judge that he wished to
                22    take his mother with him back to Belize.
                23           The government argued that, based on Williams’ multiple conflicting accounts of his place
                24    of birth and his expressed desire to return to Belize, he is a “fraudster” who cannot be trusted to
                25    comply with his pretrial release conditions, in particular his travel restrictions. Based on these
                26    representations, the magistrate judge concluded that the defendant posed a flight risk and ordered
                27    him detained.
                28
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U.S. District Judge                                                   - 10 -
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                  1           Most of the arguments before the magistrate on the motion to reopen bail centered around
                  2   what, specifically, Williams told the immigration judge regarding his desire to return to Belize. The
                  3   parties represented to the magistrate that a transcript of those proceedings was not available, but one
                  4   could be obtained in several weeks. The magistrate judge indicated he would be open to revisiting
                  5   the issue with the benefit of the record of the immigration proceedings before him.
                  6           Apparently unhappy with that time frame, the defendant has filed the instant motion, which
                  7   further requests that the court listen to the oral record of those proceedings in lieu of reviewing the
                  8   written transcripts.
                  9           The defendant has recently filed a “brief” in which he argues that he never made those
                10    statements. (Doc. # 237). The recording Williams has marked as exhibit one–in addition to not
                11    being properly authenticated–supports the government’s contentions.             When asked by the
                12    immigration law judge what the status of his citizenship is, Williams attempted to “waive” his
                13    United States citizenship, admitted he is a citizen of Belize, and requested to be voluntarily departed
                14    so that he may gather his family to take with him. (Doc. # 237, ex. 1, track 3 at appx. 2:55). In
                15    response to a question posed by the judge, Williams also specifically confirms that he desires to
                16    return to Belize with his mother. (Id., track 6 at appx. 3:30-50). It should be noted that members
                17    of his family–in particular his wife, sister, and brother–are co-defendants in the instant case.
                18            Based on the representations made by Williams, the government, and the nature of the
                19    offenses as charged in the indictment, the court is unable to conclude that the magistrate judge’s
                20    order denying the motion to reopen bail is “clearly erroneous or contrary to law.” 28 U.S.C. §
                21    636(b)(1)(A); see also Silverman, 861 F.2d at 576 (discussing clearly erroneous standard and holding
                22    a ruling must be accepted in absence of a “definite and firm conviction that a mistake has been
                23    committed.”). Williams’ motion for reconsideration (doc. # 220) is therefore denied.
                24            F.      Williams’ motion for adoption of defense objections
                25            Williams filed a motion titled “adoption of defense objections” (doc. # 231) in connection
                26    with his previously filed objections (docs. # 213, 214) to the magistrate judge’s reports and
                27    recommendations.
                28
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U.S. District Judge                                                   - 11 -
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                  1          Williams has repeatedly alleged that the government is vindictively prosecuting him based
                  2   on the filing of multiple superseding indictments. This motion essentially requests the court adopt
                  3   his objections to the reports and recommendations on the basis that the government inadvertently
                  4   failed to respond to his objections on time.
                  5          The motion is denied. The government has fully briefed each issue in front of the magistrate.
                  6   Further, the government obtained favorable rulings on these motions and is not required to file a
                  7   reply to his objections in any event.
                  8   IV.    Conclusion
                  9          In summary, Williams’ motions to suppress the search warrant, dismiss the indictment,
                10    reconsider the magistrate judge’s order, and adopt defense objections are each denied. Williams’
                11    motion to suppress involuntary statements is granted. Defendant Jacqueline Gentle’s motion to
                12    suppress is denied.
                13           Accordingly,
                14           IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the magistrate judge’s
                15    reports and recommendations (docs. # 120, 203) be, and the same hereby are, ADOPTED in their
                16    entireties. Williams’ motions to suppress the warrant (docs. # 92, 175) are hereby DENIED.
                17           IT IS FURTHER ORDERED that the magistrate judge’s report and recommendation (doc.
                18    # 121) be, and the same hereby are, ADOPTED in their entireties. Williams’ motion to suppress
                19    involuntary statements (doc. # 91) is hereby GRANTED.
                20           IT IS FURTHER ORDERED that the magistrate judge’s report and recommendation (doc.
                21    # 128) be, and the same hereby are, ADOPTED in their entireties. Jacqueline Gentle’s motion to
                22    suppress (doc. # 94) is hereby DENIED.
                23           IT IS FURTHER ORDERED that the magistrate judge’s report and recommendation (doc.
                24    # 202) be, and the same hereby are, ADOPTED in their entireties. Williams’ motion to dismiss the
                25    indictment (doc. # 176) is hereby DENIED.
                26           IT IS FURTHER ORDERED that the parties’ joint motion to review recordings in lieu of
                27    transcripts (doc. # 212) be, and the same hereby is, GRANTED.
                28
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U.S. District Judge                                                  - 12 -
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                  1          IT IS FURTHER ORDERED that Williams’ motion for reconsideration (doc. # 220) be, and
                  2   the same hereby is, DENIED.
                  3          IT IS FURTHER ORDERED that Williams’ motion for adoption of defense objections (doc.
                  4   # 231) be, and the same hereby is, DENIED.
                  5          DATED May 30, 2014.
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                                                         UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                - 13 -
